Case: 24-40350            Document: 32-1         Page: 1      Date Filed: 08/23/2024




           United States Court of Appeals
                for the Fifth Circuit
                                   ____________
                                                                             United States Court of Appeals
                                                                                      Fifth Circuit
                                    No. 24-40350
                                  Summary Calendar                                  FILED
                                  ____________                                August 23, 2024
                                                                               Lyle W. Cayce
James Logan Diez,                                                                   Clerk

                                                                  Plaintiff—Appellant,

                                          versus

Texas Department of Criminal Justice; McConnell Unit
Mailroom Supervisor Ms. Salles; McConnell Unit
Unknown Mailroom Staff; Texas Prison Board;
Director of Mail Services Coordinator Panel for
TDCJ; Executive Director of TDCJ,

                                            Defendants—Appellees.
                   ______________________________

                   Appeal from the United States District Court
                       for the Southern District of Texas
                             USDC No. 2:23-CV-269
                   ______________________________

Before King, Southwick, and Engelhardt, Circuit Judges.
Per Curiam: *
       James Logan Diez, Texas prisoner # 2399291, has appealed from the
district court’s order dismissing in part the claims presented in his 42 U.S.C.

       _____________________
       *
           This opinion is not designated for publication. See 5th Cir. R. 47.5.
Case: 24-40350        Document: 32-1       Page: 2    Date Filed: 08/23/2024




                                 No. 24-40350


§ 1983 complaint. The district court found that some of Diez’s claims should
be dismissed without prejudice as barred by the Eleventh Amendment, some
of his claims should be dismissed with prejudice as frivolous or for failure to
state a claim, and other claims should proceed because Diez alleged adequate
facts to warrant further consideration. Diez seeks to challenge the conclusion
that some of his claims were barred by the Eleventh Amendment.
       As a threshold matter, we must consider whether we have jurisdiction
to review the appeal. See Mosley v. Cozby, 813 F.2d 659, 660 (5th Cir. 1987).
The district court’s order did not resolve all of Diez’s claims and therefore is
not a final judgment for purposes of 28 U.S.C. § 1291. See Elizondo v. Green,
671 F.3d 506, 509 (5th Cir. 2012). Moreover, the order does not evince an
unmistakable intent to enter a final, appealable judgment under Federal Rule
of Civil Procedure 54(b). See Fed. R. Civ. P. 54(b); Kelly v. Lee’s Old
Fashioned Hamburgers, Inc., 908 F.2d 1218, 1220 (5th Cir. 1990) (en banc).
Further, the Eleventh Amendment ruling does not fit within the categories
of appealable interlocutory orders listed in 28 U.S.C. § 1292(a), and the
district court did not certify that the order was appealable pursuant to
§ 1292(b). Finally, the collateral-order doctrine is inapplicable because the
district court’s order did not conclusively resolve disputed issues that are
separate from the merits and that could not be reviewed on appeal from a
final judgment. See Tracy v. Lumpkin, 43 F.4th 473, 475 (5th Cir. 2022);
Burge v. Parish of St. Tammany, 187 F.3d 452, 467-68 (5th Cir. 1999).
       Accordingly, the appeal is DISMISSED for lack of jurisdiction.




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